Case 8:12-cr-00130-VMC-AEP Document 46 Filed 11/14/12 Page 1 of 2 PageID 76




                          UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



   UNITED STATES OF AMERICA

                  v.                           CASE NO. 8:12-CR-130-T-17-AEP

   JOSE ISABEL ARREOLA PLANCARTE



                       ORDER DECLARING A FORFEITURE OF BOND


          The above-styled case is set before the court upon the government's motion

   for declaration of forfeiture of bond.




          After a review of the record, it appears that the defendant, by failing to meet

   the conditions of release has breached conditions of his bond.




          IT IS THEREFORE ORDERED that the government's motion for declaration

   of forfeiture of bond is GRANTED and the sum of the bond in the amount of

   550,000.00, which was secured by the following properties:

          -   Cherokee St, Lot 35, Block 515, 111 h Add to Port Charlotte, Florida;

          -   Landrum St., Lot 39, Block 590, 18th Add to Port Charlotte, Florida;

          -   5865 Cassanova Avenue, North Port, Florida; and,

          -   911 31st Street Avenue East, Bradenton, Florida;

   is immediately due and payable.
Case 8:12-cr-00130-VMC-AEP Document 46 Filed 11/14/12 Page 2 of 2 PageID 77




   By this Order, those properties are hereby forfeited.



      DONE AND ORDERED THIS )4                    day of Y^°vQ^Xq^, 2012,   in



   Tampa, Florida.




                                        JNITED STATES DISTRICT JUDbt
